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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

IN THE MATTER OF:                                 )
                                                  )
DEAN MICHAEL GRAHAM,                              )      CASE NO. 20-10167-REG
                                                  )      Chapter 7
                                                  )
                   Debtor                         )




                                    TRUSTEE’S INVENTORY
                                 AND REQUEST FOR NOTICE TO
                                             CREDITORS




        Martin E. Seifert, duly qualified Trustee of the above-captioned Debtor’s estate, submits

this inventory and report of property of the estate of the Debtors.

        1.        All of the non-exempt assets of the estate of which he is presently aware, together

with approximate values (exact values for assets in the Trustee’s possession), but with no value

shown where valuation is problematical or possession disputed, are as follows:

        (a)       Potential non-exempt equity in real estate located at 7945 North Brown Road,

                  Columbia City, Indiana – value unknown.

        2.        This inventory and report of property is made pursuant to Federal Rule of

Bankruptcy Procedure 2015 and lists the property of the estate. Some of the property listed, or

portions thereof, may not materialize into assets of the estate of sufficient value to economically

reduce to cash.

        3.        Pursuant to Federal Rule of Bankruptcy Procedure 3002 (c)(5), Martin E. Seifert,

Trustee, requests that the Bankruptcy Clerk notify creditors that a payment of dividend appears

possible in this case.
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        I certify under the penalty of perjury that the foregoing inventory and report of property

of the estate is true.

         Dated: April 2, 2020
                                                             Respectfully submitted

                                                             CHAPTER 7 TRUSTEE
                                                             444 EAST MAIN STREET
                                                             FORT WAYNE, INDIANA 46802
                                                             TELEPHONE: (260) 426-0444
                                                             FAX: (260) 422-0274
                                                             EMAIL: mseifert@hallercolvin.com

                                                             By /s/ Martin E. Seifert
                                                             MARTIN E. SEIFERT
                                                             I.D. #16857-02




                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the above and foregoing Trustee’s

Inventory and Request for Notice to Creditors has been sent electronically by the Court’s electronic filing

service this 2nd day of April, 2020, to:

         Steven J. Glaser, Esq.
         glaser.bankruptcy@frontier.com

         United States Trustee
         USTPRegion10.SO.ECF@usdoj.gov


                                                              /s/ Martin E. Seifert
                                                              MARTIN E. SEIFERT
